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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                              CASE NO. 3:03cr127LAC

EDWARD K. NEWELL

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on MAY 29, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE           on 5/7/08      Doc.# 491

RESPONSES:
GOVERNMENT                                     on 5/30/08              Doc.# 492
                                               on                      Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the    foregoing,       it   is    ORDERED    this     1 st   day   of
July, 2008, that:
(a) The relief requested is DENIED.
(b) No matter what the guideline range would be with a reduction, if any, to the
base offense level, life imprisonment would still be the mandatory sentence
required by statute. Based upon the Government’s substantial assistance motion
on behalf of the defendant, he was sentenced to 180 months, a sentence well below
the mandatory minimum, life.    180 months was and is the appropriate sentence
given the facts and circumstances of this case.


                                                                 s /L.A. Collier
                                                             LACEY A. COLLIER
Entered On Docket:                    By:          Senior United States District Judge
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
